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         (Rev. 12/11) Order Setting Conditions of Release                                                 Page I of   3   Pages


                                      UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas




              United States of America

                             V.                                           Case No. : 4:20CR00302-03 BRW

                  Deborah Gail Terry



                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)    The defendant must not violate any federal , state or local law while on release.

(2)    The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S .C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

( 4)   The defendant must appear in cou11 as required and, if convicted, must surrender as directed to serve a sentence
       that the court may impose.

       The defendant must appear at Com1 Room A401, Richard Sheppard Arnold United States Comthouse, 600 W
       Capitol Avenue, Little Rock, Arkansas, before the Honorable Billy Roy Wilson on 12/ 1/2020 at 9:3 0 a.m.

         If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
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 AO 19 B (Rev. 12/11) (ARED F.ev. 3/27/201·?) Additional Conditions ofRelease                                                          Page_2_ of _3_ Pages

                                                   ADDITIONAL CONDITIONS OF RELEASE
       IT IS FURTHER ORDERED that the defendant=s release is subject to the conditions marked below:

       ) (6) The defendant is placed in the custody of:
               Person or organization
              Address (only if above is an organi:::alion)  Redacted pursuant to F.R.Cr.P. 49.1
              City and state                                                                                      Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant=s appearance at all court proceedings, and (c) notil)' the court immediately
if the defendant violates a condition of release or is no longer in the custodian=s custody.

                                                                          Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                         Cus1odia11                      Dale
  ( X ) (7) The defendant must:
       ( X) (a) submit to supervision by and report for supervision to the _U_._S_._P_re_t_ri_a_lS_e_r_v_ic_e_s_O_f_fi_c_e,' - - - - - - - - - - - - - - - - - -
                 telephone number         501-604-5240       , no later than as directed by Pretrial Service Officer
       ( /MA (b) continue or actively seek employment.
       (fr ) (c) continue or start an education program.
       (   ) (d) surrender any passport to :
       (   ) (e) not obtain a passport or other international travel document.
       (   ) (t) abide by the following restrictions on personal association, residence, or travel :

      ( ')() (g) avoid all contact, direct                    vith any person who is or may be a victim or witness in the investigation or prosecution,
                 including:

      (p{) (h) get medical or psychiatric
                (i) return to custody each
                                                             me,Jal_ h,Jl{,, ./r~ (},IY dM~~
                                                            at            o'clock after being released at
                                                                                                                                            ½i      I) £PO
                                                                                                                          o' clock for employment, schooling,
                    or the following purposes:

             (i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                 necessary.
         X) (k) not possess a firearm , destructive device, or other weapon.
         X) (I) not use alcohol ( }( ) at all (          ) excessively ,
         X) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. ' 802, unless prescribed by a licensed
                 medical practitioner.
            (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                 random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system. and/or any fonn of
                 prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                 of prohibited substance screening or testing.
            (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                 supervising officer.
            (p) participate in one of the following location restriction programs and comply with its requirements as directed .
                 (    ) (i) Curfew. You are restricted to your residence every day ( ) from               _____ to              , or (     ) as
                              directed by the pretrial services office or supervising officer; or
                   (x)   (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                              medical, substance abuse. or mental health treatment; attorney visits; court appearances: court-ordered obligations; or other
                              activities approved in advance by the pretrial services office or supervising officer: or
                      ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                              court appearances or other activities specifically approved by the court.
            (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                 requirements and instructions provided.
                 (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                        supervising officer.
         X ) (r) report as soon as possible. to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                 arrests, questioning, or traffic stops.
               (s) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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AO I 99C (Rev. 09/08) (ARED J{ev3i27/2018J Advice of Penalties                                                Page __3_ _ of _ _
                                                                                                                               3_   Pages

                                                ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison te1m of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more B you will be fined
             not more than $250,000 or imprisoned for not more than IO years, or both ;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years B you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony B you will be fined not more than $250,000 or imprisoned not more than two years, or both ;
       (4) a misdemeanor B you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                        Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                 Defendant 's Signature



                                                                                     City and State


                                                    Directions to the United States Marshal

( x ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
      posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
      appropriate judge at the time and place specified .



Date:      Jo. f)/ 'iMaz   I



                                                                              Judicial Officer 's Signalure

                                                                         Beth Deere, U. S. Magistrate Judge

                                                                           Printed name and title


                  DISTRIBUTION :       COURT         DEFENDANT     PRETRIAL SERVICE           U.S. ATTORNEY         U.S. MARSHAL
